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Case:18-05288-ESL11 Doc#:113 Filed:02/20/19 Entered:02/20/19 17:32:22   Desc: Main
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Case:18-05288-ESL11 Doc#:113 Filed:02/20/19 Entered:02/20/19 17:32:22   Desc: Main
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Case:18-05288-ESL11 Doc#:113 Filed:02/20/19 Entered:02/20/19 17:32:22   Desc: Main
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Case:18-05288-ESL11 Doc#:113 Filed:02/20/19 Entered:02/20/19 17:32:22   Desc: Main
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Case:18-05288-ESL11 Doc#:113 Filed:02/20/19 Entered:02/20/19 17:32:22   Desc: Main
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Case:18-05288-ESL11 Doc#:113 Filed:02/20/19 Entered:02/20/19 17:32:22   Desc: Main
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Case:18-05288-ESL11 Doc#:113 Filed:02/20/19 Entered:02/20/19 17:32:22   Desc: Main
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Case:18-05288-ESL11 Doc#:113 Filed:02/20/19 Entered:02/20/19 17:32:22   Desc: Main
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